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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
STATE OF NEW YORK,                                        :
                                                          :                          7/16/2020
                                        Plaintiff,        :
                                                          :
                      -against-                           :
                                                          :
UNITED STATES DEPARTMENT OF                               :      20-CV-5349 (VSB)
HOMELAND SECURITY; U.S.                                   :
IMMIGRATION AND CUSTOMS                                   :            ORDER
ENFORCEMENT; CHAD F. WOLF, in his :
official capacity as Acting Secretary of                  :
Homeland Security; and MATTHEW                            :
ALBENCE, in his official capacity as Acting :
Director of United States Immigration and                 :
Customs Enforcement,                                      :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        On July 15, 2020, the parties appeared before the Court for a status conference. The

parties notified the Court that they conferred and agreed that Defendant’s rescission of the July 6

U.S. Immigration & Customs Enforcement Broadcast Message rendered Plaintiff’s request for a

temporary restraining order, preliminary injunction or stay moot. The parties also agreed to

submit a proposed stipulation resolving the case.

        It is hereby:

        ORDERED that Plaintiff’s motion for a temporary restraining order, preliminary

injunction or stay pursuant to Federal Rule of Civil Procedure 65 and 5 U.S.C. §705 is DENIED

as moot.
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       IT IS FURTHER ORDERED that the parties submit a joint proposed stipulation

resolving this matter by July 24, 2020.



SO ORDERED.

Dated: July 16, 2020
       New York, New York

                                                ______________________
                                                Vernon S. Broderick
                                                United States District Judge
